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                                                  G. Michael
                                                  Harvey
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                                 November 2, 2021 at 4:00 PM           William Lawler of BlankRome


Final barrel count is pending offloading




        Served through counsel for ship owner and operator on November 3, 2021

        Seizure warrant accepted purusant to an agreement with ship operator and owner

        Inventory is pending offloading, but expected to be 513,083 Barrels of petroleum.
        Final inventory will be taken when the petroleum is transferred via ship to ship transfer.
        Offloading will be monitored and confirmed by representatives of the U.S. Government.




     November 4, 20201                                        /s/ Cindy R. Burnham


                                                             Special Agent Cindy R. Burnham
